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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

SHAWN DERR, JEFF DERR,                   )                4:13CV3078
                                         )
                   Plaintiffs,           )            MEMORANDUM
      v.                                 )             AND ORDER
                                         )
BOBBY GROVE, ANNETT                      )
HOLDINGS, Inc.,                          )
                                         )
                   Defendants.           )


       This matter is before the court on the findings and recommendation filed on
July 29, 2014 (filing 43) by Magistrate Judge Cheryl R. Zwart, who recommends that
Plaintiffs’ claims be dismissed for want of prosecution without further notice. No
objections have been filed to the findings and recommendation within the time
permitted by 28 U.S.C. § 636(b)(1). In any event, I have conducted a de novo review
and find that Judge Zwart has correctly found the facts and applied the law. Her
findings and recommendation therefore will be adopted. Accordingly,

      IT IS ORDERED:

      1.    The magistrate judge’s findings and recommendation (filing 43) are
            adopted.

      2.    This action is dismissed without prejudice.

      3.    Judgment shall be entered by separate document.

      August 18, 2014.                       BY THE COURT:

                                             Richard G. Kopf
                                             Senior United States District Judge
